             Case 20-03841                   Doc          Filed 03/18/21                Entered 03/18/21 13:25:57                           Desc Main
                                                              Document                  Page 1 of 6

Fill in this information to identify the case:

Debtor 1
                           Ruby J. Adams

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:            Northern           District of      Illinois
                                                                                     (State)

Case number              20-03841



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                                  12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
     Name of creditor:           PHH Mortgage Corporation                                                  Court claim no. (if known):           3


     Last 4 digits of any number you use to                                                                Date of payment change:
     Identify the debtor’s account:                       5006                                             Must be at least 21 days after            05/01/2021
                                                                                                           date
                                                                                                           of this notice


                                                                                                           New total payment                         $540.74
                                                                                                           Principal, interest, and escrow, if
                                                                                                           any



Part 1:               Escrow Account Payment Adjustment
1. Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
            the basis for the change. If a statement is not attached, explain why:


               Current escrow payment:          $348.16                                        New escrow payment:        $304.49


Part 2:               Mortgage Payment Adjustment
2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
            attached, explain why:


               Current interest rate                                      %                    New interest rate:                                    %

               Current principal and interest payment:           $                             New principal and interest payment:          $


Part 3:               Other Payment Change
3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
               (Court approval may be required before the payment change can take effect.)

               Reason for change:

               Current mortgage payment:           $                                           New mortgage payment:         $




Official Form 410S1                                                  Notice of Mortgage Payment Change                                                            page 1
            Case 20-03841                 Doc       Filed 03/18/21                 Entered 03/18/21 13:25:57                 Desc Main
                                                        Document                   Page 2 of 6



Debtor 1            Ruby J. Adams                                                             Case number (if known)   20-03841
                    First Name    Middle Name             Last Name



Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



x       /s/ Brenda Likavec                                                                           Date        3/18/2021
    Signature



Print                  Brenda Likavec                                                                Title      Attorney for Creditor
                       First Name           Middle Name               Last Name



Company                Codilis & Associates, P.C.


Address                15W030 North Frontage Road, Suite 100
                       Number          Street

                       Burr Ridge                    IL                    60527
                       City                                State           ZIP Code

                                                                                                                bkpleadingsNORTHERN@il
Contact phone          (630) 794-5300                                                                Email      .cslegal.com

                                                                                                                                         File #14-18-10329




Official Form 410S1                                                Notice of Mortgage Payment Change                                       page 2
    Case 20-03841           Doc       Filed 03/18/21   Entered 03/18/21 13:25:57   Desc Main
                                          Document     Page 3 of 6

                                           CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
upon the parties listed below, as to the Trustee and Debtor's attorney via electronic notice on
March 18, 2021 and as to the debtor by causing same to be mailed in a properly addressed
envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of
5:00 PM on March 18, 2021.

Marilyn O Marshall, Chapter 13 Trustee, 224 South Michigan Ste 800, Chicago, IL 60604 by
electronic notice through ECF
Ruby J. Adams , Debtor(s), 121 E. 87th Street, Chicago, IL 60619
Jessica A. Boone, Attorney for Debtor(s), 20 S. Clark Street, 28th Floor , Chicago, IL 60603 by
electronic notice through ECF
Office of U.S. Trustee, 219 S. Dearborn St., Room 873, Chicago, IL 60604 by electronic notice
through ECF




                                                         /s/ Brenda Likavec


Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Terri M. Long ARDC#6196966
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300
File #14-18-10329

NOTE: This law firm is a debt collector.
                  Case 20-03841              Doc        Filed 03/18/21
                                                               PHH Mortgage Entered
                                                                              Services   03/18/21 13:25:57 Desc Main
                                                                                                PERSONAL INFORMATION REDACTED
                                                               P.O. Box 5452
                                                            Document           Page 4 of 6
                                                               Mt. Laurel, NJ 08054-5452


Your annual escrow statement                                                                         Loan number:
March 1, 2021
                                                                                                     Questions?
                                                                                                     Visit us at
                                                                                                     www.MortgageQuestions.com
                                                                                                     Call toll free 1-800-449-8767
                                                                                                     Fax 1-856-917-8300
                   RUBY J ADAMS
                   C/O RUSTY A. PAYTON
                   20 N. CLARK STREET SUITE 3300
                   CHICAGO, IL 60602




Why am I getting this statement?
In accordance with federal guidelines your escrow account is reviewed at least one time per year; however, certain circumstances
may require an additional review. This statement is a result of that review known as an escrow analysis statement, which determines
if sufficient funds are available to pay your taxes and/or insurance. This statement is a projection of your escrow account and may
also include a history of the escrow activity on your loan since the time you last received an escrow analysis statement. The
enclosed update follows notice of the account's involvement in a bankruptcy petition, filed on February 11, 2020 under chapter 13
of the Bankruptcy Code. This statement should be reviewed carefully. The mortgage payment may be affected. Please contact us
at the number above if this account is not part of a Chapter 13 proceeding or plan. If this account has filed for any other Bankruptcy
protection or received an Order of Discharge in a Chapter 7 bankruptcy case, or received any other discharge under the U.S.
Bankruptcy Code that applied to the referenced property, please be advised that this Notice is for information purposes only and
not intended as an attempt to collect a debt against you personally.

What does this mean to me?
Your new monthly payment has been adjusted based on one-twelfth of your most recent tax and insurance amounts. It does not
included an escrow shortage or surplus adjustment because your escrow account is projected to have sufficient funds. Effective
May 2021, your new monthly payment will be $540.74.


 Escrow Balance Information
 Below is information about your anticipated escrow balance and the required escrow balance at the beginning of the analysis cycle.
 The difference between these two amounts is zero, so no action is required.
 Anticipated escrow account balance (as of April 30, 2021):                      $256.40
 Escrow adjusted per Proof of Claim*                                           $2,359.20
 Required escrow account balance (as of April 30, 2021 ):                       $2,615.60
 *This amount reflects the adjustment made for the Bankruptcy Proof of Claim:
a




                                                                                                                                              See reverse è
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose. However, if the debt is in
active bankruptcy or has been discharged through bankruptcy, this communication is provided purely for informational purposes only with regard to our
secured lien on the above referenced property. It is not intended as an attempt to collect a debt from you personally. As may be required by state law, you
are hereby notified that a negative credit report reflecting on an accountholder's credit record may be submitted to a credit reporting agency if credit
obligation terms are not fulfilled.
                                                                                                                                               Page 1 of 3




                                                       This space is intentionally left blank.
             Case
 What is my new   20-03841
                monthly        Doc
                        payment?        Filed 03/18/21 Entered 03/18/21 13:25:57                                                 Desc Main
                                            Document     Page 5 of 6
 Effective May 2021, your new monthly mortgage payment will be: $540.74
                                                      Current Payment                                       New Payment
 Principal & Interest                                     $236.25                                                $236.25
 Escrow Deposit                                           $348.16                                                $304.49
 Total Payment                                            $584.41                                                $540.74

 If your payment is issued by a third party, or if you make payments through a bill pay service, then please make sure
 your new total monthly payment amount is updated with your service provider.


 Payment Change Breakdown
 Below are the escrow items we anticipate collecting for and paying on your behalf over the next 12 months. To calculate your new
 monthly escrow payment of $304.49, we added up the actual or estimated tax and insurance payments for the next 12 months
 beginning with the May 2021 payment and divided the total by 12. Included for the comparison are the Annual Payments we
 projected to pay during the last analysis cycle, as displayed in detail in the history portion of the escrow analysis statement.

 Description                              Current Annual Payment                  Projected Annual Payment
 Taxes                                                  $2,230.52                                      $1,423.60
 Insurance                                              $1,935.31                                      $2,230.20

 TOTAL                                                  $4,177.83                                      $3,653.80


 Prior Year Account History and Coming Year Projections
 This statement itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure and
 projects payments, disbursements and balances for the coming year. The projections from your previous escrow analysis are included with
 the actual payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you can
 determine where a difference may have occurred. When applicable, the letter "E" beside an amount indicates that all or a portion of a payment or
 disbursement on that row has not yet occurred but is estimated to occur as shown. An asterisk (*) beside an amount indicates a difference from
 projected activity either in the amount or date.

 Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year. Under Federal Law
 (RESPA) the lowest monthly balance in your escrow account should be no less than $608.98 or 1/6th of the total annual projected disbursement
 from your escrow account, unless your mortgage documents or state law specifies otherwise.

 Your projected anticipated lowest account balance of $1,750.22- will be reached in July 2021. When subtracted from your minimum required
 balance of $608.98, neither a shortage or surplus exists in your account. These amounts are indicated with LP. You will receive an Annual Escrow
 Account Disclosure Statement reflecting the actual disbursements at the end of the next escrow analysis cycle. However, you should keep this
 statement for your own records for comparison. If you have any questions about this statement, please call our Customer Service Department toll
 free at 1-800-449-8767.


           Escrow account projections for the coming year
                                                     Anticipated amounts            Anticipated amounts
                                                            paid into your               paid out of your          Anticipated escrow           Required escrow
 Date                   Description                   escrow account ($)             escrow account ($)            account balance ($)        account balance ($)
                        Opening balance                                                                                      256.40                2,615.60
 May 2021                                                          304.49                                                    560.89                2,920.09
                                                                                                                                         Continued on next page




                                                                                                                                                Page 2 of 3


Change of name or address
If your contact information has changed, please give us the new
information below.

Name (first, middle, last)


Address (number and street)                                                  Suite no.


City                                                 State                   Zip code


Home telephone                                Business telephone             Extension
(          )                                  (        )
E-mail address
                 Case 20-03841      Doc       Filed 03/18/21
                                                     PHH Mortgage Entered
                                                                    Services   03/18/21 13:25:57                           Desc Main
                                                     P.O. Box 5452
                                                  Document           Page 6 of 6
                                                     Mt. Laurel, NJ 08054-5452


Your annual escrow statement (continued)                                                         Loan number:
March 1, 2021                                                                                    Questions?
                                                                                                 Visit us at
           RUBY J ADAMS
                                                                                                 www.MortgageQuestions.com
           C/O RUSTY A. PAYTON
           20 N. CLARK STREET SUITE 3300                                                         Call toll free 1-800-449-8767
           CHICAGO, IL 60602                                                                     Fax 1-856-917-8300




        Escrow account projections for the coming year (continued)
                                           Anticipated amounts           Anticipated amounts
                                                  paid into your              paid out of your           Anticipated escrow                          Required escrow
Date             Description                escrow account ($)            escrow account ($)             account balance ($)                       account balance ($)
Jun 2021                                               304.49                                                       865.38                              3,224.58
Jul 2021         COUNTY TAX                            304.49                        682.89                         486.98                              2,846.18
Jul 2021         AGENCY FEES                                                           7.00                         479.98                              2,839.18
Jul 2021         HAZARD INS.                                                       2,230.20                      -1,750.22                                608.98 LP
Aug 2021                                               304.49                                                    -1,445.73                                913.47
Sep 2021                                               304.49                                                    -1,141.24                              1,217.96
Oct 2021                                               304.49                                                      -836.75                              1,522.45
Nov 2021                                               304.49                                                      -532.26                              1,826.94
Dec 2021                                               304.49                                                      -227.77                              2,131.43
Jan 2022                                               304.49                                                            76.72                          2,435.92
Feb 2022         COUNTY TAX                            304.49                        726.71                        -345.50                              2,013.70
Feb 2022         AGENCY FEES                                                           7.00                        -352.50                              2,006.70
Mar 2022                                               304.49                                                        -48.01                             2,311.19
Apr 2022                                               304.49                                                       256.48                              2,615.68
Total                                               $3,653.88                     $3,653.80

                                              LP - indicates your required escrow lowest balance


        Prior year account History
                                                            Amounts paid into                     Amounts paid out of                                 Escrow account
                                                          your escrow account                    your escrow account                                         balance
Date            Description                  Anticipated ($)         Actual ($)    Anticipated ($)          Actual ($)           Anticipated ($)            Actual ($)
                Opening balance                                                                                                      1,894.30             -1,757.13
Mar 2020                                            348.16                    *                                                      2,242.46             -1,757.13
Apr 2020                                            348.16                    *                                                      2,590.62             -1,757.13
May 2020                                            348.16                    *                                                      2,938.78             -1,757.13
Jun 2020        HAZARD INS.                         348.16         1,045.48 *                             2,134.43*                  3,286.94             -2,846.08
Jul 2020        COUNTY TAX                          348.16           348.16               997.47            682.89*                  2,637.63             -3,180.81
Jul 2020        AGENCY FEES                                                                   6.00                   *               2,631.63             -3,180.81
Jul 2020        HAZARD INS.                                                             1,935.31                     *                 696.32             -3,180.81
Aug 2020        AGENCY FEES                         348.16           348.16                                    7.00*                 1,044.48             -2,839.65
Sep 2020                                            348.16           696.32 *                                                        1,392.64             -2,143.33
Oct 2020                                            348.16         -1,392.64 *                                                       1,740.80             -3,535.97
Nov 2020                                            348.16         1,392.64 *                                                        2,088.96             -2,143.33
Dec 2020                                            348.16           348.16                                                          2,437.12             -1,795.17
Jan 2021                                            348.16                    *                                                      2,785.28             -1,795.17
Feb 2021        COUNTY TAX                          348.16           348.16             1,233.05            726.71*                  1,900.39             -2,173.72
Feb 2021        AGENCY FEES                                                                   6.00             7.00*                 1,894.39             -2,180.72
Mar 2021                                                           2,088.96 E                                        E               1,894.39                 -91.76
Apr 2021                                                             348.16 E                                        E               1,894.39                256.40
Total                                            4,177.92          5,571.56             4,177.83          3,558.03




                                                                                                                                                     Page 3 of 3
